                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


 JOHN DOE,

                  Plaintiff,

           v.
                                                            Civil Action No. 24-0617 (TJK)
 U.S. IMMIGRATION AND CUSTOMS
 ENFORCEMENT,

                  Defendant.


                                      [PROPOSED] ORDER

          UPON CONSIDERATION of Defendant’s Motion for Summary Judgment, any responses

and replies thereto, and the entire record herein, it is hereby

          ORDERED that Defendant’s Motion is GRANTED, it is further

          ORDERED that Plaintiff’s Cross-Motion for Summary Judgment is DENIED; and it is

further

          ORDERED that summary judgment is granted in Defendant’s favor and against Plaintiff.



          It is SO ORDERED this _____ day of ___________________, 2025.



                                                                     ________________________
                                                                     United States District Judge
